                                       Case 3:14-cr-00175-WHA Document 1417 Filed 08/17/21 Page 1 of 4




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                                   6                                   UNITED STATES DISTRICT COURT

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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                     Plaintiff,                          No. CR 14-0175 WHA

                                  12             v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                              FOLLOW-UP QUESTIONS RE
                                       COMPANY,                                              DIXIE AND FLY FIRES
                                  14
                                                         Defendant.
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                                  17        By NOON ON AUGUST 25, PG&E shall please answer these following questions, except

                                  18   responses to Question No. 7 and thereafter may be submitted by NOON ON AUGUST 31.

                                  19        l.        The photo of the stump submitted on July 28 does not comport with the other

                                  20   photos from the scene submitted on that date. The stump is shown as burned to a crisp and

                                  21   about three-quarters gone, yet the limbs and needles very close by are green and unburned.

                                  22   Seems impossible. Moreover, the other photos show the fallen Douglas Fir as unburned and

                                  23   green (save for the line burns). How could the stump have burned so thoroughly yet the rest

                                  24   of the tree remain so unburned? This incongruity does not match up. Please explain.

                                  25   Provide the true picture of the true stump, as well as all other photos, including a photo of the

                                  26   bottom of the trunk of the Douglas Fir.

                                  27        2.        While the photos were being taken, what was the status of the Dixie Fire and who

                                  28   was trying to contain it? Who took the photos?
                                       Case 3:14-cr-00175-WHA Document 1417 Filed 08/17/21 Page 2 of 4




                                   1           3.   Please provide a sketch map with the following shown, approximately to scale,

                                   2   with respect to the Dixie Fire:

                                   3                  (a)   The Bucks Creek 1101 Line;

                                   4                  (b)   The fuse hanging down;

                                   5                  (c)   The place at the Cresta Dam for which the troubleman saw

                                   6           the fuse hanging down (using binoculars);

                                   7                  (d)   The Bucks Creek substation;

                                   8                  (e)   Rock Creek Switching Center;

                                   9                  (f)   The route that the troubleman took to reach the pole with the

                                  10           hanging fuse;

                                  11                  (g)   The Douglas Fir on the line;

                                  12                  (h)   The 600 or 800 square-foot fire first seen by the Troubleman;
Northern District of California
 United States District Court




                                  13                  (i)   Where the drone was seen; and

                                  14                  (j)   All other roads that would have allowed access to the

                                  15           location where the fuse was hanging down.

                                  16           4.   The Court has received information that PG&E informed the Monitor of the

                                  17   following: PG&E believed that the drone that interfered with Dixie firefighting on July 13 was

                                  18   being flown by a PG&E contractor at the time of the interference. PG&E believed that the

                                  19   contractor was not doing work for PG&E at the time of the interference, however, because

                                  20   records indicated that it had completed PG&E surveillance work for the day. Is it true that

                                  21   PG&E did believe that a PG&E contractor operated the drone (regardless of whether it was on

                                  22   behalf of PG&E or not)? What was the source of this information? Does PG&E still believe

                                  23   that?

                                  24           5.   The circuit was ranked 11 out of 3,635 circuits with respect to the Equipment Risk.

                                  25   Please state each reason the circuit received such an elevated risk rating.

                                  26           6.   The circuit was ranked 568 of 3,074 circuits with respect to Vegetation Risk.

                                  27   Please state each reason the circuit received such an elevated risk rating.

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                                       Case 3:14-cr-00175-WHA Document 1417 Filed 08/17/21 Page 3 of 4




                                   1        7.    Please provide copies of all reports and memos and emails regarding the site visit

                                   2   on April 16, 2021, regarding the plan for under-grounding the circuit and all reports and

                                   3   memos and emails summarizing, describing or referring to the need to do so or the proposal to

                                   4   do so or the problem leading to such proposals.

                                   5        8.    What indications are there that the Douglas Fir broke and fell onto the Bucks

                                   6   Circuit?

                                   7        9.    What indications are there that the Douglas Fir uprooted and fell onto the Bucks

                                   8   Circuit?

                                   9        10. Please state all other information on why the Douglas Fir fell.

                                  10        11. Please state all information and data on local or regional wind gusts or wind

                                  11   conditions at or about the time of power interruptions near the Douglas Fir.

                                  12        12. With respect to the patrols on November 11, 2020, and January 14, 2021, what was
Northern District of California
 United States District Court




                                  13   identified for work, if anything, within one-quarter mile of the Douglas Fir?

                                  14        13. With respect to any other patrols or inspection within the last five years, please state

                                  15   all other work, if any, was specified within one-quarter mile of the Douglas Fir.

                                  16        14. Turning to the Fly Fire, what indications are there that the White Fir broke and fell

                                  17   onto the Gasner Circuit?

                                  18        15. What indications are there that the White Fir uprooted and fell into the Gasner

                                  19   Circuit?

                                  20        16. Please state all other information on why the White Fir failed and fell.

                                  21        17. Please state all information and data about local or regional wind gusts and wind

                                  22   conditions at about the time of the Fly Fire ignition.

                                  23        18. Please provide photos of the White Fir after it fell onto the Gasner Circuit sufficient

                                  24   to show (i) whether it broke versus uprooted; (ii) the extent to which the tree burned; and

                                  25   (iii) whether the White Fir had disease or death (if any).

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                                       Case 3:14-cr-00175-WHA Document 1417 Filed 08/17/21 Page 4 of 4




                                   1        19. What actual evidence indicates that the Fly Fire was started by a spot fire from the

                                   2   Dixie Fire?

                                   3

                                   4        IT IS SO ORDERED.

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                                   6   Dated: August 17, 2021.

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                                                                                            WILLIAM ALSUP
                                   8                                                        UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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